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            EXHIBIT H
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                   16
                                                   UNITED STATES DISTRICT COURT
                   17
                                                NORTHERN DISTRICT OF CALIFORNIA
                   18
                                                           SAN FRANCISCO DIVISION
                   19
                        RICHARD KADREY, et al.,                          Case No. 3:23-cv-03417-VC
                   20
                        Individual and Representative
                   21                                                    DEFENDANT META PLATFORMS, INC.S
                                             Plaintiffs,                 OBJECTIONS AND RESPONSES TO
                   22                                                    PLAINTIFFS FIFTH SET OF REQUESTS FOR
                               v.                                        PRODUCTION
                   23
                        META PLATFORMS, INC., a Delaware
                   24   corporation;

                   25                        Defendant.

                   26

                   27

                   28
COOLEY LLP
ATTORNEYS AT LAW                                                                              METAS OBJ & RESPS TO
                                                                                            PLTFS FIFTH SET OF RFPS
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                    1   subject matter of the Request, including documents and communications with limited, if any,

                    2   relevance to Plaintiffs copyright infringement allegations and Metas defenses thereto.

                    3          Meta objects to this Request to the extent it seeks information that is not relevant to any

                    4   partys claims or defenses, and on the ground that it presumes that a decision was made to include

                    5   this language.

                    6          Subject to and without waiving the foregoing objections, and pursuant to the terms of the

                    7   Protective Order and ESI Order, Meta will conduct a reasonable search for and produce non-

                    8   privileged, responsive documents in its possession, custody, or control, if any, concerning Metas

                    9   decision, if any, to describe Llama 2 training data as publicly available in the Llama 2 Paper.

                   10   REQUEST FOR PRODUCTION NO. 81:

                   11          All Documents and Communications related to the decision to use Shadow Datasets for

                   12   training Llama Models.

                   13   RESPONSE TO REQUEST NO. 81:

                   14          Meta incorporates by reference its objections and definitions above, including to the term
                   15   Shadow Datasets. Any electronic communications, including emails and documents attached
                   16   thereto, will only be produced pursuant to and in accordance with the ESI Order.
                   17          Meta objects to this Request because, on its face, it does not exclude documents and
                   18   communications exchanged with or at the direction of Metas attorneys concerning legal advice or

                   19   opinions, which are subject to attorney-client privilege and/or attorney work product

                   20   doctrine. Such documents will not be produced.

                   21          Meta objects to this Request as overbroad, unduly burdensome, and disproportionate to the

                   22   needs of the case to the extent that it seeks all documents and communications concerning the

                   23   subject matter of the Request, including documents and communications with limited, if any,

                   24   relevance to Plaintiffs copyright infringement allegations and Metas defenses thereto, in particular

                   25   to the extent it concerns datasets that do not include Plaintiffs asserted works.

                   26          Meta objects to this Request to the extent it seeks information that is not relevant to any

                   27   partys claims or defenses.

                   28          Meta objects to this Request to the extent that Meta has already searched for and provided
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                    1   documents responsive to this Request, which overlaps with prior Requests.

                    2             Subject to and without waiving the foregoing objections, and pursuant to the terms of the

                    3   Protective Order and ESI Order, Meta will conduct a reasonable search for and produce non-

                    4   privileged, responsive documents in its possession, custody, or control concerning Metas decision

                    5   to use data from Third Party Datasets (as construed above) to train the Llama Models (as construed

                    6   above).

                    7   REQUEST FOR PRODUCTION NO. 82:

                    8             All Documents and Communications related to the role of EleutherAI in the acquisition and

                    9   use of Books3.

                   10   RESPONSE TO REQUEST NO. 82:

                   11             Meta incorporates by reference its objections and definitions above, including to the term

                   12   EleutherAI. Any electronic communications, including emails and documents attached thereto,

                   13   will only be produced pursuant to and in accordance with the ESI Order.

                   14             Meta objects to this Request because, on its face, it does not exclude documents and
                   15   communications exchanged with or at the direction of Metas attorneys concerning legal advice or
                   16   opinions, which are subject to attorney-client privilege and/or attorney work product
                   17   doctrine. Such documents will not be produced.
                   18             Meta objects to this Request as vague and ambiguous as to the terms role and acquisition

                   19   and use, as it fails to identify with specificity the scope of what the Request is referring to,

                   20   including what constitutes a role or the acquisition and use of Books3, and fails to specify

                   21   whose acquisition and use of Books3 is at issue. Meta construes this Request as seeking

                   22   documents related to EleutherAIs involvement, if any, in Metas use of Books3 to train the Llama

                   23   Models (as construed above).

                   24             Meta objects to this Request as overbroad, unduly burdensome, and disproportionate to the

                   25   needs of the case to the extent that it seeks all documents and communications concerning the

                   26   subject matter of the Request, including documents and communications with limited, if any,

                   27   relevance to Plaintiffs copyright infringement allegations and Metas defenses thereto.

                   28             Meta objects to this Request to the extent it seeks information that is not relevant to any
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                                                                           9                         PLTFS FIFTH SET OF RFPS
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                    1          Meta objects to this Request as vague, ambiguous, and indefinite as to copyrighted

                    2   material, as the Request does not identify any and Meta is not in a position to know whether any

                    3   particular work is subject to copyright protection. Meta construes this Request as seeking

                    4   documents concerning Metas training data memorization mitigations for the Llama Models (as

                    5   construed above).

                    6          Meta objects to this Request as overbroad, unduly burdensome, and disproportionate to the

                    7   needs of the case to the extent that it seeks all documents and communications, including source

                    8   code, concerning the subject matter of the Request, including documents and communications with

                    9   limited, if any, relevance to Plaintiffs copyright infringement allegations and Metas defenses

                   10   thereto.

                   11          Meta objects to this Request to the extent it seeks information that is not relevant to any

                   12   partys claims or defenses.

                   13          Meta objects to this Request as duplicative of other Requests, including Request No. 116.

                   14          Meta objects to this Request to the extent that Meta has already searched for and produced
                   15   documents responsive to this Request, which overlaps with prior Requests.
                   16          Subject to and without waiving the foregoing objections, and pursuant to the terms of the
                   17   Protective Order and ESI Order, Meta will conduct a reasonable search for and produce non-
                   18   privileged, responsive documents in its possession, custody, or control, if any, sufficient to show

                   19   Metas training data memorization mitigations for the Llama Models (as construed above).

                   20   REQUEST FOR PRODUCTION NO. 119:

                   21          All Documents and Communications, including source code, relating to the processing of

                   22   copyrighted material used in training Llama Models, including storage and deletion of copyrighted

                   23   material.

                   24   RESPONSE TO REQUEST NO. 119:

                   25          Meta incorporates by reference its objections and definitions above. Any electronic

                   26   communications, including emails and documents attached thereto, will only be produced pursuant

                   27   to and in accordance with the ESI Order.

                   28          Meta objects to this Request because, on its face, it does not exclude documents and
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ATTORNEYS AT LAW                                                                                     METAS OBJ & RESPS TO
                                                                        45                         PLTFS FIFTH SET OF RFPS
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                    1   communications exchanged with or at the direction of Metas attorneys concerning legal advice or

                    2   opinions, which are subject to attorney-client privilege and/or attorney work product

                    3   doctrine. Such documents will not be produced.

                    4          Meta objects to this Request as vague, ambiguous, and indefinite as to copyrighted

                    5   material, as the Request does not identify any and Meta is not in a position to know whether any

                    6   particular training data is protected by copyright. Meta also objects to this Request on the ground

                    7   that it presupposes that there are documents related to the processing, storage, and deletion of

                    8   copyrighted material separate and apart from other training data.

                    9          Meta objects to this Request as duplicative of other Requests.

                   10          Meta objects to this Request as overbroad, unduly burdensome, and disproportionate to the

                   11   needs of the case to the extent that it seeks all documents and communications concerning the

                   12   subject matter of the Request, including documents and communications, including source code,

                   13   with limited, if any, relevance to Plaintiffs copyright infringement allegations and Metas defenses

                   14   thereto.
                   15          Meta objects to this Request to the extent it seeks information that is not relevant to any
                   16   partys claims or defenses.
                   17          Meta objects to this Request as duplicative of other Requests, including Request Nos. 116
                   18   and 118.

                   19          Meta is willing to meet and confer with Plaintiffs regarding the appropriate scope, if any of

                   20   this Request.

                   21   REQUEST FOR PRODUCTION NO. 120:

                   22          All Documents and Communications, including source code, relating to actual or

                   23   contemplated source code changes within Llama Models, including source code commits and

                   24   pull requests.

                   25   RESPONSE TO REQUEST NO. 120:

                   26          Meta incorporates by reference its objections and definitions above. Any electronic

                   27   communications, including emails and documents attached thereto, will only be produced pursuant

                   28   to and in accordance with the ESI Order.
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ATTORNEYS AT LAW                                                                                      METAS OBJ & RESPS TO
                                                                         46                         PLTFS FIFTH SET OF RFPS
                                                                                                            3:23-CV-03417-VC
